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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,            )
                                     )        Case No. 2:15-cv-11461-GAD-EAS
            Plaintiff,               )
                                     )
            v.                       )
                                     )
SYED N. AHMED; NASAH INC.;            )
MILLINIUM FINANCIAL SOLUTIONS,        )
INC.; MARS, INC.-HAMTRAMCK; MAHAD )
INC.; all d/b/a LIBERTY TAX SERVICE, )
                                     )
            Defendant.               )
                                     )

      STIPULATION FOR ENTRY OF CONSENT JUDGMENT AND
               PERMANENT INJUNCTION ORDER
      Plaintiff United States of America, through its undersigned counsel, and

defendants Syed N. Ahmed, Nasah, Inc., Millinium Financial Solutions, Inc., Mars,

Inc.-Hamtramck, and Mahad, Inc., all doing business as Liberty Tax Service,

through undersigned counsel, stipulate and agree as follows:

1. On April 22, 2015, the United States filed a Complaint for Permanent

   Injunction and Other Relief under 26 U.S.C. §§ 7402, 7407, and 7408 (the

   Internal Revenue Code (“I.R.C.”)) against defendants. (See Compl. ECF No. 1.)

   On July 27, 2015, Defendants filed an Answer and Affirmative Defenses

   denying the allegations in the Complaint. (See Ans. Compl. ECF No. 16).




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2. Without admitting liability, Defendants nevertheless wish to resolve this matter

   and they hereby consent to entry of judgment in the above-captioned case and

   entry of the following Permanent Injunction Order against them.

3. This Court has subject-matter and personal jurisdiction over the defendants.

4. Entry of this Consent Judgment and Permanent Injunction Order will resolve

   only this civil injunction action, and neither precludes the government from

   pursuing any other current or future civil or criminal matters or proceedings,

   nor precludes defendants from contesting liability in any matter or proceeding.

5. The parties waive the entry of findings of fact and conclusions of law under

   Rules 52 and 65 of the Federal Rules of Civil Procedure.

6. The Permanent Injunction Order will be entered under Federal Rule of Civil

   Procedure 65 and will constitute the final judgment in this matter. The

   defendants waive the right to appeal from this judgment and will bear their

   respective costs, including any attorney’s fees or other expenses of this

   litigation.

7. This Court should retain jurisdiction over this matter for the purpose of

   implementing and enforcing the Permanent Injunction Order. If defendants

   violate the Permanent Injunction Order they may be subject to civil and

   criminal sanctions for contempt of court.




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8. Defendants consent, without further proceedings, to immediate revocation of all

   Preparer Tax Identification Numbers (“PTINs”) and Electronic Filing

   Identification Numbers (“EFINs”) held by, assigned to, or used by defendants.

   Defendants consent to disbarment from practice before the Internal Revenue

   Service in any capacity.

                       PERMANENT INJUNCTION ORDER

           IT IS HEREBY ORDERED that Defendants Syed N. Ahmed, and

Nasah, Inc., Millinium Financial Solutions, Inc., Mars, Inc.-Hamtramck, and

Mahad, Inc., all doing business as Liberty Tax Service, are PERMANENTLY

ENJOINED, pursuant to I.R.C. §§ 7402(a), 7407, and 7408, effective from the

date of entry of this Order, from directly or indirectly:

      a.     acting as a federal tax return preparers, or filing, assisting in, or

             directing the preparation or filing of federal tax returns, amended

             returns, or other related tax documents or forms for any person or

             entity other than Syed N. Ahmed’s own personal tax returns;

      b.     assisting, participating, or acting in concert with, any of defendants’

             representatives, agents, servants, employees and anyone in active

             concert or participation with them in the preparation or filing of

             federal tax returns, amended returns, or other related tax documents or

             forms for any person or entity;



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     c.    filing, providing forms for, or otherwise aiding and abetting the filing

           of IRS Forms 1040, 1040X, 8867, 8863, Schedule C, or any other IRS

           forms containing false or fabricated information;

     d.    advising taxpayers to violate internal revenue laws or unlawfully

           evade the assessment or collection of their federal tax liabilities,

           including the misuse of IRS Forms 1040, 1040X, Schedule C, or other

           IRS forms by inputting false or fabricated information;

     e.       owning, managing, controlling, working for, profiting from, or

           volunteering for a tax-return-preparation business;

     f.    seeking permission or authorization (or helping or soliciting others to

           seek permission or authorization) to file tax returns with an IRS

           Preparer Tax Identification Number (“PTIN”) and/or IRS Electronic

           Filing Identification Number (“EFIN”), or any other IRS service or

           program by which one prepares or files tax returns;

     g.    using, maintaining, renewing, obtaining, transferring, selling, or

           assigning any PTIN(s) or EFIN(s);

     h.    representing anyone other than Syed N. Ahmed before the IRS; and

     i.    engaging in any other conduct that is subject to penalty under the

           Internal Revenue Code        or that    interferes with    the proper

           administration and enforcement of the internal revenue laws.



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      IT IS FURTHER ORDERED that the United States may engage in post-

judgment discovery to monitor compliance with this injunction.

      IT IS FURTHER ORDERED that this Court shall retain jurisdiction over

this action for purposes of implementing and enforcing the final judgment and any

additional orders necessary and appropriate to the public interest.

      IT IS SO ORDERED.



This 16th day of November, 2015.

                                               s/Gershwin A. Drain
                                               United States District Judge




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APPROVED AS TO FORM AND CONTENT:

CAROLINE D. CIRAOLO                    LAW OFFICES OF JOHN F.
Acting Assistant Attorney General      HARRINGTON

s/Erin Lindgren                            s/ John F. Harringto

ERIN LINDGREN                          John F. Harrington (P40443)
GREGORY S. SEADOR                      30500 Van Dyke Avenue, Suite 200
Trial Attorneys, Tax Division          Warren, MI 48093 (586) 751-
U.S. Department of Justice             3610
Minn. Bar No. 392617                   attysharrington@comcast.net
DCBN: 478236
P.O. Box 7238                          Attorney for Defendants
Washington, D.C. 20044-0683
Facsimile: (202) 514-6770              Dated: 11/12/2015
Telephone: (202) 353-0013
Erin.Lindgren@usdoj.gov

Attorneys for the United States of
America

             11/13/2015                    s/Syed N. Ahmed
Dated:                                 Syed N. Ahmed
                                       Defendant
                                       204 Midwest Club Parkway
                                       Oak Brook, IL 60523

                                       Dated: 11/12/2015




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LOCAL COUNSEL:
BARBARA L. McQUADE
United States Attorney

PETER A. CAPLAN
Assistant U.S. Attorney
211 W. Fort Street, Ste. 2001
Detroit, MI 48226
(313) 226-9784
P30643
Email: peter.caplan@usdoj.gov




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